                                                                                                                                                 EXHIBIT 99.1

                                                            MONTHLY OPERATING REPORT
                                                             (GENERAL BUSINESS CASE)

                                                         SUMMARY OF FINANCIAL STATUS

 MONTH ENDED:                             December 31, 2019                                          PETITION DATE:                           January 29, 2019


 1.
          Debtors in possession (or trustee) hereby submit this Monthly Operating Report on the Accrual Basis of accounting (or if
          checked here the Office of the U.S. Trustee or the Court has approved the Cash Basis of Accounting for the Debtors).
          Dollars reported in $ millions


 2.        Asset and Liability Structure                                                    End of Current            End of Prior            As of Petition
                                                                                               Month                    Month                    Filing (1)
           a. Current Assets                                                                $       10,165           $       10,604         $             9,091
           b. Total Assets                                                                  $       85,196           $       85,396         $          79,809
           c. Current Liabilities                                                           $        7,631           $        6,294         $             3,740
           d. Total Liabilities                                                             $       79,808           $       76,274         $          66,888


                                                                                            End of Current    End of Prior      Cumulative
 3.        Statement of Cash Receipts & Disbursements for Month                                 Month           Month          (Case to Date)
           a. Total Receipts                                                                $         1,917 $         1,634 $           23,045
           b. Total Disbursements                                                           $        (2,481) $       (2,192) $         (22,400)
           c. Excess (Deficiency) of Receipts Over Disbursements (a -
           b)                                                                               $              (564) $                 (558) $                    645
           d. Cash Balance Beginning of Month                                               $             2,119 $                 2,677 $                     910
           e. Cash Balance End of Month (c + d)                                             $             1,555 $                 2,119 $                   1,555


                                                                                            End of Current            End of Prior             Cumulative
                                                                                                Month                   Month                (Case to Date) (1)
 4.        Profit/(Loss) from the Statement of Operations                                   $        (3,747)         $          132         $          (7,654)
 5.        Account Receivables (Pre and Post-Petition)                                      $         4,873          $        4,724
 6.        Post-Petition Liabilities                                                        $         4,687          $        4,630
 7.        Past Due Post-Petition Account Payables (over 30 days) (2)                       $            —           $           —
(1)
      Data as of January 29, 2019 is not available, January 31, 2019 data used as Petition Date.
(2)
      In the ordinary course, in most instances the Debtors’ process for validating items for payment to suppliers requires the matching of a vendor invoice with a
       purchase order and, additionally, with a goods receipt (reflecting the Debtors’ acknowledgment of the delivery of goods or completion of services). That
       matching process extends the timeline for a vendor invoice to be cleared for payment until such time as the validation operation is fully complete. The
       Debtors are actively engaged on an ongoing basis with their supplier base to minimize the invoice matching and validation time frame. To the best of the
       Debtors’ knowledge, in all instances where the invoice matching process has been satisfactorily completed for post-petition vendor activity, the Debtors do
       not have any past due post-petition accounts payable as of December 31, 2019.




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UNAUDITED STATEMENTS OF INCOME
FOR THE MONTH ENDED DECEMBER 31, 2019
                                                                 Pacific Gas &                               PG&E
                                                                   Electric              PG&E              Corporation
(in millions)                                       Reference      Company             Corporation         Consolidated
Operating Revenues
  Electric                                                      $         1,427    $             —     $           1,427
  Natural gas                                                               594                  —                   594
     Total operating revenues                                             2,021                  —                 2,021
Operating Expenses
  Cost of electricity                                                       143                  —                   143
  Cost of natural gas                                                       110                  —                   110
  Operating and maintenance                                               1,024                  (2)               1,022
Wildfire-related claims, net of insurance                                 4,988                  —                 4,988
  Depreciation, amortization, and decommissioning                           246                  —                   246
     Total operating expenses                                             6,511                  (2)               6,509
Operating Income (Loss)                                                  (4,490)                  2               (4,488)
 Interest income                                                              7                  —                     7
 Interest expense                                                          (654)                (19)                (673)
 Other income, net                                                           16                  (1)                  15
 Reorganization items, net                           Item 15                (29)                 (1)                 (30)
Loss Before Income Taxes                                                 (5,150)                (19)              (5,169)
 Income tax benefit                                                      (1,421)                 (3)              (1,424)
Net Loss                                                                 (3,729)                (16)              (3,745)
 Preferred stock dividend requirement                                         2                  —                     2
Loss Attributable to Common Stock                               $        (3,731) $              (16) $            (3,747)




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UNAUDITED STATEMENTS OF INCOME
PETITION DATE THROUGH DECEMBER 31, 2019
                                                                 Pacific Gas &                               PG&E
                                                                   Electric              PG&E              Corporation
(in millions)                                       Reference      Company             Corporation         Consolidated
Operating Revenues
  Electric                                                      $       12,739     $             —     $          12,739
  Natural gas                                                            4,388                   —                 4,388
     Total operating revenues                                           17,127                   —                17,127
Operating Expenses
  Cost of electricity                                                     3,095                  —                 3,095
  Cost of natural gas                                                       733                  —                   733
  Operating and maintenance                                               8,749                 (23)               8,726
  Wildfire-related claims, net of insurance                              11,436                  —                11,436
  Depreciation, amortization, and decommissioning                         3,233                  (1)               3,232
     Total operating expenses                                            27,246                 (24)              27,222
Operating Income (Loss)                                                 (10,119)                 24              (10,095)
 Interest income                                                             82                   1                   83
 Interest expense                                                          (913)                (21)                (934)
 Other income, net                                                          243                   9                  252
 Reorganization items, net                           Item 15               (320)                (26)                (346)
Loss Before Income Taxes                                                (11,027)                (13)             (11,040)
 Income tax provision (benefit)                                          (3,408)                  8               (3,400)
Net Loss                                                                 (7,619)                (21)              (7,640)
 Preferred stock dividend requirement                                        14                  —                    14
Loss Attributable to Common Stock                               $        (7,633) $              (21) $            (7,654)




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UNAUDITED BALANCE SHEETS
AS OF DECEMBER 31, 2019

                                                                Pacific Gas &                               PG&E
                                                                  Electric              PG&E              Corporation
(in millions)                                       Reference     Company             Corporation         Consolidated
ASSETS
Current Assets
                                                    Items 10
    Cash and cash equivalents                         and 11    $        1,122    $            448    $           1,570
    Accounts receivable
       Customers (net of allowance for doubtful
       accounts of $43)                               Item 4             1,287                  —                 1,287
       Accrued unbilled revenue                                            969                  —                   969
       Regulatory balancing accounts                                     2,114                  —                 2,114
       Other                                                             2,647                 121                2,617
    Regulatory assets                                                      315                  —                   315
    Inventories                                       Item 3
      Gas stored underground and fuel oil                                   97                  —                    97
      Materials and supplies                                               550                  —                   550
   Income taxes receivable                                                  —                    2                   —
   Other                                                                   635                  11                  646
      Total current assets                                               9,736                 582               10,165
Property, Plant, and Equipment
   Electric                                                             62,707                  —                62,707
   Gas                                                                  22,688                  —                22,688
   Construction work in progress                                         2,675                  —                 2,675
   Other Plant in Service                                                   18                   2                   20
      Total property, plant, and equipment                              88,088                   2               88,090
   Accumulated depreciation                                            (26,453)                 (2)             (26,455)
      Net property, plant, and equipment              Item 7            61,635                  —                61,635
Other Noncurrent Assets
   Regulatory assets                                                     6,066                  —                 6,066
   Nuclear decommissioning trusts                                        3,173                  —                 3,173
   Operating lease right of use asset                                    2,279                   7                2,286
   Income taxes receivable                                                  66                  84                   67
   Other                                                                 1,659               5,276                1,804
      Total other noncurrent assets                                     13,243               5,367               13,396
TOTAL ASSETS                                                    $       84,614    $          5,949    $          85,196




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UNAUDITED BALANCE SHEETS
AS OF DECEMBER 31, 2019

                                                                     Pacific Gas &                               PG&E
                                                                       Electric              PG&E              Corporation
(in millions)                                            Reference     Company             Corporation         Consolidated
LIABILITIES AND SHAREHOLDERS’
EQUITY
Current Liabilities
  Debtor-in-possession financing, classified as
  current                                                  Item 6    $        1,500    $             —     $           1,500
  Accounts payable                                         Item 5
     Trade creditors                                                          1,949                   6                1,954
     Regulatory balancing accounts                                            1,797                  —                 1,797
     Other                                                                      675                  42                  566
  Operating lease liabilities                                                   553                   3                  556
  Disputed claims and customer refunds                                           —                   —                    —
  Interest payable                                                                4                  —                     4
 Other                                                                        1,263                  (7)               1,254
    Total current liabilities                                                 7,741                  44                7,631
Noncurrent Liabilities
 Regulatory liabilities                                                       9,270                  —                 9,270
 Pension and other postretirement benefits                                    1,884                  —                 1,884
 Asset retirement obligations                                                 5,854                  —                 5,854
 Deferred income taxes                                     Item 8               442                (122)                 320
 Operating lease liabilities                                                  1,726                   4                1,730
 Other                                                                        2,626                  58                2,573
    Total noncurrent liabilities                                             21,802                 (60)              21,631
Liabilities Subject to Compromise                          Item 9            49,736                 810               50,546
Shareholders’ Equity
 Preferred stock                                                                258                  —                    —
 Common stock                                                                 1,322              13,058               13,038
 Additional paid-in capital                                                   8,550                  —                    —
 Reinvested earnings                                                         (4,796)             (7,892)              (7,892)
 Accumulated other comprehensive loss                                             1                 (11)                 (10)
    Total shareholders’ equity                                                5,335               5,155                5,136
Noncontrolling Interest - Preferred Stock of
Subsidiary                                                                      —                    —                  252
TOTAL LIABILITIES AND SHAREHOLDERS’
EQUITY                                                               $       84,614    $          5,949    $          85,196




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UNAUDITED STATEMENTS OF CASH FLOWS
AS OF DECEMBER 31, 2019
                                                                                                        Pacific Gas &                           PG&E
                                                                                                          Electric             PG&E           Corporation
 (in millions)                                                                                            Company            Corporation      Consolidated
 Cash Flows from Operating Activities
      Net loss(1)                                                                                       $        (7,622) $             (20) $       (7,642)
      Adjustments to reconcile net income to net cash provided by operating activities:
          Depreciation, amortization, and decommissioning                                                         3,233                  1           3,234
          Allowance for equity funds used during construction                                                        (79)               —              (79)
          Deferred income taxes and tax credits, net                                                             (2,952)                 4          (2,948)
          Reorganization items, net (Item 15)                                                                         97                11             108
          Disallowed capital expenditures                                                                           581                —               581
          Other                                                                                                     167                 40             207
          Effect of changes in operating assets and liabilities:
              Accounts receivable                                                                                   (132)               28            (104)
              Wildfire-related insurance receivable                                                                   35                —               35
              Inventories                                                                                            (80)               —              (80)
              Accounts payable                                                                                      579                (63)            516
              Wildfire-related claims                                                                               (114)               —             (114)
              Income taxes receivable/payable                                                                          5                18              23
              Other current assets and liabilities                                                                  101                (24)             77
              Regulatory assets, liabilities, and balancing accounts, net                                        (1,417)                —           (1,417)
        Liabilities subject to compromise                                                                        12,194                 28          12,222
        Other noncurrent assets and liabilities                                                                     214                (17)            197
 Net cash provided by operating activities                                                                        4,810                  6           4,816
 Cash Flows from Investing Activities
      Capital expenditures                                                                                       (6,313)                —           (6,313)
      Proceeds from sales and maturities of nuclear decommissioning trust investments                               956                 —              956
      Purchases of nuclear decommissioning trust investments                                                     (1,032)                —           (1,032)
      Other                                                                                                           11                —               11
 Net cash used in investing activities                                                                           (6,378)                —           (6,378)
 Cash Flows from Financing Activities
      Proceeds from debtor-in-possession credit facility                                                          1,850                 —            1,850
      Repayments of debtor-in-possession credit facility                                                            (350)               —             (350)
      Debtor-in-possession credit facility debt issuance costs                                                       (97)              (16)           (113)
      Common stock issued                                                                                             —                 85              85
      Other                                                                                                           (8)               —               (8)
 Net cash provided by financing activities                                                                        1,395                 69           1,464
 Net change in cash, cash equivalents, and restricted cash                                                          (173)               75             (98)
 Cash, cash equivalents, and restricted cash at January 1                                                         1,302                373           1,675
 Cash, cash equivalents, and restricted cash at December 31                                             $         1,129     $          447    $      1,577
 Less: Restricted cash and restricted cash equivalents included in other current assets                               (7)               —               (7)
 Cash and cash equivalents at December 31                                                               $         1,122     $          448    $      1,570
(1)
      Net loss is for the year ended December 31, 2019 and will not agree to net loss as shown in Petition to Date Income Statement.




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Supplemental disclosures of cash flow information
 Cash paid for:
    Interest, net of amounts capitalized                                        $        (7) $        (3) $        (10)
Supplemental disclosures of noncash investing and financing activities
 Capital expenditures financed through accounts payable                         $      826    $       —   $        826
 Operating lease liabilities arising from obtaining ROU assets                  $     2,807   $       9   $    2,816




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1.        BASIS OF PRESENTATION

General

On January 29, 2019, PG&E Corporation (the “Corporation”) and its subsidiary, Pacific Gas and Electric Company (the
“Utility”) (together with the Corporation, the “Debtors”), filed voluntary petitions for relief under chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) in the U.S. Bankruptcy Court for the Northern District of California (the
“Bankruptcy Court”). The Debtors’ Chapter 11 cases are being jointly administered under the caption In re: PG&E
Corporation and Pacific Gas and Electric Company, Case No. 19-30088 (DM) (the “Chapter 11 Cases”). The Debtors
continue to operate their businesses and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108
of the Bankruptcy Code. No trustee or examiner has been appointed in either of the Chapter 11 Cases.

On February 12, 2019, the United States Trustee (the “U.S. Trustee”) appointed an Official Committee of Unsecured Creditors
(the “UCC”). On February 15, 2019, the U.S. Trustee appointed an Official Committee of Tort Claimants (the “TCC”).

Debtor-in-Possession Financial Statements

Financial Accounting Standards Board Accounting Standards Codification 852 (Reorganizations) (“ASC 852”), which is
applicable to companies in Chapter 11, requires that financial statements for periods after the filing of a Chapter 11 petition
distinguish transactions and events that are directly associated with the reorganization from the ongoing operations of the
business. The financial statements have been prepared in accordance with ASC 852. The accompanying financial statements
have been prepared solely for purposes of complying with the monthly operating requirements applicable in the Debtors’
Chapter 11 Cases (the “Monthly Operating Reports”). The Debtors caution investors and potential investors not to place undue
reliance upon the information contained in the Monthly Operating Reports, which was not prepared for the purpose of
providing the basis for an investment decision relating to any securities of the Debtors.

The financial information contained in the Monthly Operating Reports is unaudited, limited in scope, and as such, has not been
subject to procedures that would typically be applied to financial statements in accordance with accounting principles generally
accepted in the United States of America. The Monthly Operating Reports should not be relied upon by any persons for
information relating to current or future financial condition, events, or performance of the Corporation and the Utility and any
of their non-debtor subsidiaries, as the results of operations contained in the Monthly Operating Reports are not necessarily
indicative of results which may be expected for any other period or for the full year, and may not necessarily reflect the
combined results of operations, financial position, and schedule of receipts and disbursements in the future. These unaudited
financial statements were prepared using certain assumptions and estimates. These assumptions and estimates are subject to
revision. Further, the amounts shown in this statement may differ materially due to adjustments in accruals, changes in facts
and circumstances, changes in estimates, further analysis, and other factors.

The Utility’s unaudited financial statements reflected under the column “Pacific Gas and Electric Company” are presented on a
consolidated basis and include the accounts of the Utility and the following subsidiaries of the Utility that individually and in
aggregate are immaterial: Eureka Energy Company, Midway Power, LLC, Pacific Energy Fuels Company, and Standard
Pacific Gas Line Incorporated.

The Corporation’s unaudited financial statements reflected under the column “PG&E Corporation” are presented on a
consolidated basis and include the accounts of the following subsidiaries of the Corporation that individually and in aggregate
are immaterial: PCG Capital, Inc., PG&E Corporation Support Services, Inc., and PG&E Corporation Support Services II, Inc.
The Corporation’s unaudited financial statements reflected under the column “PG&E Corporation” exclude the accounts of the
Utility.

The Corporation’s unaudited financial statements reflected under the column “PG&E Corporation, Consolidated” are presented
on a consolidated basis and include the accounts of the Corporation, the Utility, and other wholly owned and controlled
subsidiaries.

These unaudited financial statements differ from the requirements of generally accepted accounting principles in that they
exclude certain financial statements (statements of shareholders’ equity and other comprehensive income), relevant footnotes
and certain reclassifications.




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Liabilities Subject to Compromise

As a result of the Chapter 11 Cases, the payment of pre-petition indebtedness is subject to compromise or other treatment under
a plan of reorganization. The determination of how liabilities will ultimately be settled or treated cannot be made until the
Bankruptcy Court confirms a Chapter 11 plan of reorganization and such plan becomes effective. Accordingly, the ultimate
amount of such liabilities is not determinable at this time. ASC 852 requires pre-petition liabilities that are subject to
compromise to be reported at the amounts expected to be allowed, even if they may be settled for lesser amounts. The amounts
currently classified as liabilities subject to compromise are preliminary and may be subject to future adjustments depending on
the Bankruptcy Court actions, further developments with respect to disputed claims, determinations of the secured status of
certain claims, the values of any collateral securing such claims, rejection of executory contracts, continued reconciliation or
other events.

Reorganization Items

ASC 852 requires expenses and income directly associated with the Chapter 11 Cases to be reported separately in the income
statement. Reorganization items are reported net and include expenses related to legal advisory and representation services,
other professional consulting and advisory services, debtor-in-possession financing fees and changes in liabilities subject to
compromise recognized as there are changes in amounts expected to be allowed, net of interest income.

Post-Petition Liabilities

Post-petition liabilities reflected in the Monthly Operating Report include Accounts payable – trade creditors, Accounts payable
– other, and Other current liabilities, excluding amounts pertaining to regulatory liabilities.

2.       CHAPTER 11 FILING

On January 29, 2019, the Debtors filed the Chapter 11 Cases with the Bankruptcy Court. The Debtors continue to operate their
businesses as debtors in possession under the jurisdiction of the Bankruptcy Court and in accordance with the applicable
provisions of the Bankruptcy Code and orders of the Bankruptcy Court.

On January 31, 2019, the Bankruptcy Court approved, on an interim basis, certain motions (the “First Day Motions”)
authorizing, but not directing, the Debtors to, among other things, (a) secure $5.5 billion of debtor-in-possession financing; (b)
continue to use and the Debtors’ cash management system; and (c) pay certain pre-petition claims relating to (i) certain safety,
reliability, outage, and nuclear facility suppliers; (ii) shippers, warehousemen, and other lien claimants; (iii) taxes; (iv)
employee wages, salaries, and other compensation and benefits; and (v) customer programs, including public purpose
programs. The First Day Motions were subsequently approved by the Bankruptcy Court on a final basis at hearings on
February 27, 2019, March 12, 2019, March 13, 2019, and March 27, 2019.

On July 1, 2019, the Bankruptcy Court entered an order approving a deadline of October 21, 2019, at 5:00 p.m. (Pacific Time)
(the “Bar Date”) for filing claims against the Debtors relating to the period prior to the Petition Date. The Bar Date is subject to
certain exceptions, including for claims arising under section 503(b)(9) of the Bankruptcy Code, the bar date for which occurred
on April 22, 2019. The Bankruptcy Court also approved the Debtors’ plan to provide notice of the Bar Date to parties in
interest, including potential wildfire-related claimants and other potential creditors. On November 11, 2019, the Bankruptcy
Court entered an order [Docket No. 4672] approving a stipulation between the Debtors and the TCC to extend the Bar Date for
unfiled, non-governmental fire claimants to December 31, 2019, at 5:00 p.m. (Pacific Time).

On June 18, 2019, the Debtors entered into Plan Support Agreements with certain local public entities providing for an
aggregate of $1.0 billion to be paid by the Debtors to such public entities pursuant to the Debtors’ Chapter 11 plan of
reorganization in order to settle such public entities’ claims against the Debtors relating to the 2018 Camp fire, the 2017
Northern California wildfires and the 2015 Butte fire (collectively, “Public Entity Wildfire Claims”). The Debtors have entered
into a Plan Support Agreement with each of the following public entities or group of public entities, as applicable: (i) the City
of Clearlake, the City of Napa, the City of Santa Rosa, the County of Lake, the Lake County Sanitation District, the County of
Mendocino, Napa County, the County of Nevada, the County of Sonoma, the Sonoma County Agricultural Preservation and
Open Space District, the Sonoma County Community Development Commission, the Sonoma County Water Agency, the
Sonoma Valley County Sanitation District and the County of Yuba; (ii) the Town of Paradise; (iii) the County of Butte; (iv) the
Paradise Recreation & Park District; (v) the County of Yuba; and (vi) the Calaveras County Water District.

On September 22, 2019, the Debtors entered into a Restructuring Support Agreement with certain holders of insurance
subrogation claims (collectively, the “Consenting Subrogation Creditors”) which agreement was amended and restated on
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November 1, 2019 and subsequently amended further during November and December 2019 (as amended, the “Subrogation
RSA”). The Subrogation RSA provides for an aggregate amount of $11.0 billion to be paid by the Debtors pursuant to the
Proposed Plan in order to settle all insurance subrogation claims (the “Subrogation Claims”) relating to the 2017 Northern
California wildfires and the 2018 Camp fire, upon the terms and conditions set forth in the Subrogation RSA. Under the
Subrogation RSA, the Debtors also have agreed to reimburse the holders of Subrogation Claims for professional fees of up to
$55 million, upon the terms and conditions set forth in the Subrogation RSA. On December 19, 2019, the Bankruptcy Court
entered an order granting the Debtors' motion to approve the Subrogation RSA.

On December 6, 2019, the Debtors entered into a Restructuring Support Agreement, which was subsequently amended on
December 16, 2019 (as amended, the “TCC RSA”), with the TCC, the attorneys and other advisors and agents for holders of
Fire Victim Claims (as defined below) that are signatories to the TCC RSA (each a “Consenting Fire Claimant Professional”),
and the Shareholder Proponents. The TCC RSA provides for, among other things, an aggregate of $13.5 billion in value to be
provided by the Debtors pursuant to the Proposed Plan in order to settle and discharge all claims against the Debtors relating to
the 2015 Butte fire, the 2017 Northern California wildfires and the 2018 Camp fire (other than the Subrogation Claims and the
Public Entity Wildfire Claims) (the “Fire Victim Claims”), upon the terms and conditions set forth in the TCC RSA and the
Proposed Plan. On December 19, 2019, the Bankruptcy Court entered an order granting the Debtors’ motion to approve the
TCC RSA.

On January 22, 2020, the Debtors entered into a Restructuring Support Agreement (the “Noteholder RSA”) with certain holders
of senior unsecured debt of the Utility that are identified in the Noteholder RSA as “Consenting Noteholders” and the
Shareholder Proponents. The Noteholder RSA provides for, among other things, (i) the refinancing of the Utility’s senior
unsecured debt in satisfaction of all claims arising out of the currently outstanding Utility notes maturing through 2022 in an
aggregate principal amount of $1.75 billion (the “Utility Short-Term Senior Notes”), the long-term Utility notes bearing an
interest rate greater than 5% of which there is an aggregate principal amount outstanding of $6.2 billion (the “Utility Long-
Term Senior Notes”) and the Utility's pre-petition credit facilities and certain series of Pollution Control bonds (collectively, the
“Utility Funded Debt”), and (ii) the reinstatement of the remaining outstanding $9.58 billion aggregate principal amount of the
Utility notes (the “Utility Reinstated Senior Notes"), in each case pursuant to the Proposed Plan and upon the terms and
conditions set forth in the Noteholder RSA. Under the Noteholder RSA, the Debtors have also agreed to reimburse the holders
of Utility Long-Term Senior Notes for debt placement fees and the members of the Ad Hoc Noteholder Committee for
professional fees of up to $99 million upon the terms and conditions set forth in the Noteholder RSA. On February 5, 2020, the
Bankruptcy Court entered an order granting the Debtors' motion to approve the Noteholder RSA.

On February 7, 2020, pursuant to section 1125 of the Bankruptcy Code, the Debtors filed the Proposed Disclosure Statement,
and on February 18, 2020, the Debtors filed certain financial projections as an exhibit to the Proposed Disclosure Statement.
The hearing before the Bankruptcy Court to consider approval of the Proposed Disclosure Statement is scheduled for March 10,
2020.

For additional information regarding the Chapter 11 Cases, refer to the website maintained by Prime Clerk, LLC, the
Company’s claims and noticing agent, at http://restructuring.primeclerk.com/pge, as well as to the Debtors' joint annual report
on Form 10-K for the year ended December 31, 2019, and other reports filed with the SEC, which are available on PG&E
Corporation's website at www.pgecorp.com and on the SEC website at www.sec.gov. The Debtors also routinely post or
provide links to certain documents and information related to the Chapter 11 Cases at http://investor.pgecorp.com, under the
“Chapter 11” tab.

3.       INVENTORY

Inventories are carried at weighted-average cost and include natural gas stored underground as well as materials and supplies.
Natural gas stored underground is recorded to inventory when injected and then expensed as the gas is withdrawn for
distribution to customers or to be used as fuel for electric generation. Materials and supplies are recorded to inventory when
purchased and expensed or capitalized to plant, as appropriate, when consumed or installed.

4.       ACCOUNTS RECEIVABLE

The following reflects the balance of the Utility’s Accounts receivable – Customers as of December 31, 2019:




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                                                                                                                                     Accounts Receivable
 (in millions)                                                                                                                         – Customers (Pre
 Receivables Aging                                                                                                                     and Post-Petition)
 0 -30 Days                                                                                                                          $                 782
 31-60 Days                                                                                                                                            112
 61-90 Days                                                                                                                                             62
 91+ Days                                                                                                                                              174
 Unmailed invoices                                                                                                                                     160
 Total accounts receivable – Customers                                                                                                               1,290
 Other (1)                                                                                                                                              40
 Allowance for doubtful accounts                                                                                                                       (43)
 Accounts receivable – Customers (net)                                                                                               $               1,287
(1)
      Represents Department of Water Resources bond charge, credit balance reclassification, and unidentified receipts.

5.            ACCOUNTS PAYABLE

To the best of the Debtors’ knowledge, all undisputed, validated post-petition accounts payable have been and are being paid
under agreed-upon payment terms.

In the ordinary course, in most instances the Debtors’ process for validating items for payment to suppliers requires the
matching of a vendor invoice with a purchase order and, additionally, with a goods receipt (reflecting the Debtors’
acknowledgment of the delivery of goods or completion of services). That matching process extends the timeline for a vendor
invoice to be cleared for payment until such time as the validation operation is fully complete. The Debtors are actively
engaged on an ongoing basis with its supplier base to minimize the invoice matching and validation time frame. To the best of
the Debtors’ knowledge, in all instances where the invoice matching process has been satisfactorily completed for post-petition
vendor activity, the Debtors do not have any past due post-petition accounts payable as of December 31, 2019.

6.            DEBTOR-IN-POSSESSION (“DIP”) FINANCING

The following table summarizes the Debtors’ outstanding borrowings and availability under their DIP credit facilities
at December 31, 2019:
                                                                                                               Letters of
                                                             Aggregate                 Term Loan    Revolver    Credit      Aggregate
  (in millions)                                                Limit                   Borrowings Borrowings Outstanding Availability
  PG&E Corporation                                         $          —                $       — $         — $          — $         —
  Utility                                                          5,500 (1)                1,500          —           663       3,337
  Total DIP credit facilities                              $       5,500               $    1,500 $        — $         663 $     3,337
(1)
      May be extended to December 2021, subject to satisfaction of certain terms and conditions, including payment of a 25 basis point extension fee.

On January 29, 2020, the Utility borrowed $500 million under the DIP Delayed Draw Term Loan Facility.




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7.            PROPERTY, PLANT, AND EQUIPMENT

Property, plant, and equipment are reported at the lower of their historical cost less accumulated depreciation or fair value.
Historical costs include labor and materials, construction overhead, and allowance for funds used during construction. PG&E
Corporation Consolidated balances of its property, plant, and equipment were as follows at December 31, 2019:
                                                                                                                                        PG&E Corporation
 (in millions)                                                                                                                            Consolidated
 Electric (1)                                                                                                                          $            62,707
 Gas                                                                                                                                                22,688
 Construction work in progress                                                                                                                       2,675
 Other Plant in Service                                                                                                                                 20
 Total property, plant, and equipment                                                                                                               88,090
 Accumulated depreciation                                                                                                                          (26,455)
 Net property, plant, and equipment                                                                                                    $            61,635
(1)
      Balance includes nuclear fuel inventories. Stored nuclear fuel inventory is stated at weighted-average cost. Nuclear fuel in the reactor is expensed as it is
      used based on the amount of energy output.

8.            PAYMENT OF TAXES

To the best of the Debtors’ knowledge, the Corporation and the Utility are current on all taxes payable.

9.            LIABILITIES SUBJECT TO COMPROMISE

The following reflects the balance of liabilities subject to compromise (“LSTC”) as of December 31, 2019:
                                                                        Pacific Gas &                                                   PG&E Corporation
 (in millions)                                                         Electric Company                PG&E Corporation                   Consolidated
 Financing Debt (1)                                                  $             22,450             $              666               $            23,116
 Wildfire-related Claims(2)                                                        25,548                             —                             25,548
 Trade creditors                                                                    1,183                              5                             1,188
 Non-qualified benefit plan                                                            20                            137                               157
 2001 bankruptcy disputed claims (3)                                                  234                             —                                234
 Customer deposits & advances                                                          71                             —                                 71
 Others                                                                               230                              2                               232
 Total Liabilities Subject to Compromise                             $                    49,736      $                        810     $                    50,546
(1)
    At December 31, 2019, PG&E Corporation and the Utility had $650 million and $21,526 million in aggregate principal amount of pre-petition indebtedness,
    respectively. Pre-petition financing debt includes accrued contractual interest of $1 million and $286 million for PG&E Corporation and the Utility,
    respectively, to the Petition Date. Financing debt also includes post-petition interest of $15 million and $638 million for PG&E Corporation and the Utility,
    respectively, in accordance with the terms of the Noteholder RSA, please see Note 2 of the Notes to the Consolidated Financial Statements in the Debtors’
    joint annual report on Form 10-K for the year ended December 31, 2019.
(2)
    For information on pre-petition wildfire-related claims reported as LSTC, please see Note 14 of the Notes to the Consolidated Financial Statements in the
    Debtors’ joint annual report on Form 10-K for the year ended December 31, 2019.
(3)
    2001 bankruptcy disputed claims includes $14 million of interest recorded at the interest rate specified by FERC in accordance with S35.19a of the FERC
    regulations.



 10.          RECAPITULATION OF FUNDS HELD AT END OF MONTH

The following reflects the bank balances of the Corporation and the Utility as of December 31, 2019:
                                                                                                                                              Balance, End of
        Legal Entity                                                 Bank                                              Account No.             Month (in ones)
 PG&E Corporation                                 The Bank of New York Mellon                                             8400               $    448,000,000
 PG&E Corporation                                 The Bank of New York Mellon                                             9023                              —
 PG&E Corporation                                 Bank of America                                                         7107                              —
 PG&E Corporation                                 The Bank of New York Mellon                                             4558                              —

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PG&E Corporation                 Union Bank of California                        9557                  737
PG&E Corporation                 Bank of America                                 0X30                   —
PG&E Corporation                 Barclays Capital Inc.                           1362                   —
PG&E Corporation                 BNP Paribas                                     0652                   —
PG&E Corporation                 Citigroup Global Markets                        0473                   —
PG&E Corporation                 Goldman, Sachs & Co                             0609                   —
PG&E Corporation                 JP Morgan Chase Bank, N.A.                      0698                   —
PG&E Corporation                 Merrill Lynch                                  0X30(3)                 —
PG&E Corporation                 Mitsubishi UFJ Securities USA, INC.             0189                   —
PG&E Corporation                 Morgan Stanley / ISG Operations                 4966                   —
PG&E Corporation                 RBC Capital Markets                             2226                   —
PG&E Corporation                 Wells Fargo Securities, LLC                     7221                   —
PG&E Corporation                 Bank of America                                7981(3)                 —
PG&E Corporation                 The Bank of New York Mellon                    9946(3)                 —
Pacific Gas & Electric Company   The Bank of New York Mellon                     8400          824,500,000
Pacific Gas & Electric Company   Union Bank of California                        5581          271,884,170
Pacific Gas & Electric Company   Citibank N. A.                                  2091              478,489
Pacific Gas & Electric Company   Bank of America                                 3212              493,380
Pacific Gas & Electric Company   The Bank of New York Mellon                     9994              585,989
Pacific Gas & Electric Company   The Bank of New York Mellon                     7822                   —
Pacific Gas & Electric Company   The Bank of New York Mellon                     5477                   —
Pacific Gas & Electric Company   Royal Bank of Canada                            0446            1,378,522
Pacific Gas & Electric Company   Bank of America                                 7115                   —
Pacific Gas & Electric Company   U.S. Bank                                       2311              629,308
Pacific Gas & Electric Company   Bank of America                                 2988               46,730
Pacific Gas & Electric Company   The Bank of New York Mellon                     3044                   —
Pacific Gas & Electric Company   Bank of America                                 2302              713,732
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas           4XL9                 3,040
Pacific Gas & Electric Company   The Bank of New York Mellon                     4122                1,000
Pacific Gas & Electric Company   The Bank of New York Mellon                     3532                   —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas            43.11                  —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas            543.7                  —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas            550.2                  —
Pacific Gas & Electric Company   Bank of America                                 0817                   —
Pacific Gas & Electric Company   Bank of America                                1675(3)                 —
Pacific Gas & Electric Company   Citibank N. A.                                  0901                   —
Pacific Gas & Electric Company   Citibank N. A.                                  1958                   —
Pacific Gas & Electric Company   Citibank N. A.                                  2316                   —
Pacific Gas & Electric Company   Citigroup Global Markets                        6473                   —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas            854.1                  —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas            854.1                  —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas            54.11                  —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas            54.12                  —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas            54.13                  —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas            54.14                  —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas            54.15                  —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas            54.16                  —

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Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         854.2                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         854.3                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         854.4                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         854.5                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         854.6                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         854.7                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         854.8                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         854.9                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         43.10                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         43.12                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         543.6                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         543.8                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         550.1                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         50.10                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         50.11                      —
Pacific Gas & Electric Company   Deutsche Bank Trust Company Americas         50.12                      —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           50.13                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           50.14                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           50.15                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           50.16                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           50.17                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           50.18                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           50.19                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           50.20                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           50.21                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           50.22                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           50.23                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           50.24                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           550.3                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           550.4                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           550.5                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           550.6                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           550.7                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           550.8                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           550.9                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           387.1                       —
Pacific Gas & Electric Company Deutsche Bank Trust Company Americas           7110                        —
Pacific Gas & Electric Company The Bank of New York Mellon                    8400                        —
Pacific Gas & Electric Company The Bank of New York Mellon                    8544                       259
Pacific Gas & Electric Company The Bank of New York Mellon                    9990                 4,947,069
Pacific Gas & Electric Company The Bank of New York Mellon                    4017                        —
Pacific Gas & Electric Company The Bank of New York Mellon                    0143                        —
Pacific Gas & Electric Company Wells Fargo Bank N.A.                          9578                        —
Pacific Gas & Electric Company The Bank of New York Mellon                    9978                        —
Pacific Gas & Electric Company U.S. Bank                                      5000                 1,002,457
Pacific Gas & Electric Company Bank of America                                2520                        —
Total Funds on Hand for all Accounts (1)(2)                                                $   1,554,664,882

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(1)
    Schedule does not include Wells Fargo accounts 5300 and 5400; these accounts are held by grantor trusts relating to post-service benefits to directors,
    officers, and other highly paid employees, which have a combined value of $176,499,473. The grantor trusts are considered assets of the Corporation
    subject to creditor claims.
(2)
    Balances will not tie to the Balance Sheets as they are per bank and due to the exclusion of non-debtor bank accounts.
(3)
    Bank accounts Bank of America 7981 and 1675, BNY Mellon 9946, and Merrill Lynch 0X30 were closed as of December 31, 2019.

11.           CASH RECEIPTS AND DISBURSEMENTS

The following reflects the cash receipts and disbursements of the Corporation and the Utility for the month ended December 31,
2019:
                                                                                                                           PG&E
                                                                                    Pacific Gas &        PG&E           Corporation
 (in ones)                                                                        Electric Company     Corporation      Consolidated
 Beginning Cash (1)(2)                                                            $    1,670,412,733 $    448,479,798 $   2,118,892,531
 Total receipts (3)                                                                    1,907,745,100        9,267,035     1,917,012,135
 Total disbursements (3)                                                              (2,471,493,685)      (9,746,099)   (2,481,239,784)
 DIP borrowing and repayments, net (net of fees)                                                  —                —                 —
 Total Change in Cash                                                                   (563,748,585)        (479,064)     (564,227,649)
 Ending Cash (1)(2)                                                               $    1,106,664,148 $    448,000,734 $   1,554,664,882
(1)
      Calculated using balance per bank.
(2)
      Balances will not tie to the Balance Sheets as they are per bank and due to the exclusion of non-debtor bank accounts.
(3)
      Includes intercompany receipts and disbursements between the Corporation and the Utility.

12.           PAYMENTS ON PRE-PETITION DEBT

The following reflects the payments for the month ended December 31, 2019 made in accordance with the authority granted by
the Bankruptcy Court pursuant to the First Day Motions.
 (in millions)
 First Day Motions                                                                                                                  Disbursed in Month
 Operational Integrity Supplier                                                                                                    $                 —
 Cash Management                                                                                                                                     —
 NGX - CAISO                                                                                                                                         —
 Public Purpose Programs                                                                                                                              1
 Shippers / Liens                                                                                                                                    —
 Tax                                                                                                                                                 —
 Employee Wage and Benefits                                                                                                                           5
 Insurance                                                                                                                                           —
 503(b)(9) (1)                                                                                                                                       —
 Total                                                                                                                             $                  6
(1)
      Pursuant to the Operational Integrity Motion Debtors are allowed to pay valid 503(b)(9) claims.




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13.     PAYMENTS FOR RETAINED PROFESSIONALS

The following reflects payments made to retained bankruptcy professionals during the month ended December 31, 2019.

(in ones)
Name                                                 Payment Date                       Total Payments for the Month
Axiom Advisors Inc.                                                     12/23/19 $                                60,000
Baker & Hostetler LLP                                                  12/4/2019                               3,196,461
Berman And Todderud PLLP                                              12/28/2019                                  84,948
Centerview Partners LLC                                        12/11, 12/23/2019                               1,059,664
Coblentz Patch Duffy & Bass LLP                                12/11, 12/27/2019                                 239,273
                                                12/7, 12/10, 12/11, 12/17, 12/18,
Cravath Swaine & Moore LLP                                            12/19/2019                              27,110,225
Deloitte & Touche LLP                                                 12/19/2019                                 733,721
Development Specialists Inc.                                          12/18/2019                                 381,153
Dundon Advisers LLC                                                   12/16/2019                                 127,733
FTI Consulting Inc.                                             12/4, 12/18/2019                               1,954,981
Groom Law Group Chartered                                             12/11/2019                                 478,836
Jenner & Block LLP                                      12/17, 12/18, 12/19/2019                               2,037,730
Keller & Benvenutti LLP                                         12/4, 12/31/2019                                 450,114
Lincoln International LP                                              12/11/2019                               1,180,316
Milbank LLP                                                           12/12/2019                               1,289,250
Morrison & Foerster LLP                                               12/18/2019                               1,213,834
                                                 12/3, 12/6, 12/10, 12/11, 12/17,
Munger Tolles & Olson LLP                                             12/21/2019                               5,739,855
PricewaterhouseCoopers LLP                                            12/24/2019                                 748,795
Simpson Thacher & Bartlett LLP                                 12/10, 12/12/2019                                 973,905
Weil Gotshal & Manges LLP                                12/4, 12/17, 12/18/2019                               6,855,088
Willis Towers Watson US LLC                             12/11, 12/12, 12/14/2019                                 378,054
Total                                                                               $                         56,293,936




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14.           PAYMENTS TO INSIDERS

The following reflects the cash payments made to insiders of the Corporation and the Utility during the month ended December
31, 2019.

Current Section 16 officers of the Corporation and/or the Utility.
 (in ones)                                                                                                                                  Total Payments
 Name (1)                                                                Title                                                               for Month (2)
 William D. Johnson                  Chief Executive Officer and President, PG&E Corporation                                                     208,333
                                     Senior Vice President, Electric Operations, Pacific Gas and Electric
 Michael A. Lewis                    Company                                                                                                         44,167
                                     Senior Vice President and General Counsel, PG&E Corporation and Pacific
 Janet C. Loduca                     Gas and Electric Company                                                                                        48,382
 John R. Simon                       Executive Vice President, Law, Strategy, and Policy, PG&E Corporation                                           58,382
                                     Vice President, Chief Financial Officer, and Controller, Pacific Gas and
                                     Electric Company
 David S. Thomason                   Vice President and Controller, PG&E Corporation                                                                 27,548
 Andrew M. Vesey                     Chief Executive Officer and President, Pacific Gas and Electric Company                                         83,333
 Jason P. Wells                      Executive Vice President and Chief Financial Officer, PG&E Corporation                                          52,965
                                     Senior Vice President and Chief Nuclear Officer, Pacific Gas and Electric
 James M. Welsch                     Company                                                                                                         45,417
(1)
      Section 16 officers of the Corporation and/or the Utility, as determined by the Corporation's and the Utility's Boards of Directors as of December 31, 2019.
(2)
      Payments primarily consist of salary.

15.           REORGANIZATION ITEMS

The following reflects reorganization items, net, post-petition through December 31, 2019:
                                                                        Pacific Gas &                         PG&E Corporation
 (in millions)                                                         Electric Company    PG&E Corporation     Consolidated
 Debtor-in-possession financing costs                                $                 97 $               17 $               114
 Legal and other (1)                                                                  273                 19                 292
 Interest income                                                                      (50)               (10)                (60)
 Adjustments to LSTC                                                                   —                  —                   —
 Total reorganization items, net                                     $                320 $               26 $               346
(1)
      At December 31, 2019, the Corporation and the Utility incurred $916,975 and $1,167,280, respectively, in fees to the U.S. Trustee.




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